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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff

v.                                             Case No. 21-30583
                                               Originating No. 4:21-cr-6042SMJ-17


ABDULLAH AL-DULAIMI,

                Defendant.
_____________________________________/

                           GOVERNMENT’S PETITION
                       FOR TRANSFER OF DEFENDANT TO
                    ANOTHER DISTRICT AND SUPPORTING BRIEF


       Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

ABDULLAH AL-DULAIMI, to answer to charges pending in another federal

district, and states:

       1. On December 9, 2021 defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Eastern District of

Washington based on an Indictment. Defendant is charged in that district with

violation of 18 U.S.C. §1343- Wire Fraud; 18 U.S.C. §1341- Mail Fraud; 18 U.S.C.

§§1341, 1343, 1349- Conspiracy to Commit Mail Fraud and Wire Fraud; 18 U.S.C.

§§1347, 1349- Conspiracy to Commit Health Care Fraud.
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      2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).



      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                                Respectfully submitted,

                                                SAIMA S. MOHSIN
                                                Acting United States Attorney



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Dated: December 9, 2021
